          Case 4:20-cv-05640-YGR Document 827 Filed 11/02/21 Page 1 of 4


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18                                                     Counterclaimant Apple Inc.
19                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
20
                                      OAKLAND DIVISION
21
     EPIC GAMES, INC.,                              Case No. 4:20-cv-05640-YGR-TSH
22
                              Plaintiff, Counter-   STIPULATION AND [PROPOSED] ORDER
23                            defendant             REGARDING HEARING DATE FOR APPLE
                                                    INC.’S MOTION TO STAY THE
24          v.                                      INJUNCTION PENDING APPEAL

25   APPLE INC.,

26                            Defendant,
                              Counterclaimant.
27

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                 STIPULATION AND [PROPOSED] ORDER REGARDING HEARING DATE FOR APPLE’S
                             MOTION TO STAY THE INJUNCTION PENDING APPEAL
                                         4:20-CV-05640-YGR-TSH
             Case 4:20-cv-05640-YGR Document 827 Filed 11/02/21 Page 2 of 4


1             Pursuant to Civil Local Rule 6-2, Epic Games, Inc. (“Epic”) and Apple Inc. (“Apple”) by and
2    through their respective counsel hereby agree as follows:
3             WHEREAS, on September 10, 2021, the Court entered a permanent injunction (Dkt. 813) and
4    judgment (Dkt. 814) in this case;
5             WHEREAS, the injunction has an effective date of December 9, 2021;
6             WHEREAS, Epic noticed an appeal on September 12, 2021 (Dkt. 816) and Apple noticed an
7    appeal on October 8, 2021 (Dkt. 820);
8             WHEREAS, on October 8, 2021, Apple filed a Motion for Stay of Injunction Pending Appeal
9    (“Motion to Stay”) (Dkt. 821);
10            WHEREAS, pursuant to the Local Rules, Apple noticed the Motion to Stay for hearing on
11   November 16, 2021, with Epic’s opposition due October 22, 2021, and Apple’s reply due October 29,
12   2021;
13            WHEREAS, Apple requested to shorten the time for the hearing on Apple’s Motion to Stay,
14   and Epic does not object; and
15            WHEREAS, counsel for both parties are available for a November 9, 2021 hearing, a date on
16   which the Court will be conducting its weekly civil law and motion calendar;
17            THEREFORE, IT IS STIPULATED AND AGREED, subject to the Court’s approval, that
18   Apple’s Motion to Stay the Injunction Pending Appeal shall be heard on November 9, 2021, at 2:00
19   p.m. via the Zoom platform.
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                STIPULATION AND [PROPOSED] ORDER REGARDING HEARING DATE FOR APPLE’S
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          Case 4:20-cv-05640-YGR Document 827 Filed 11/02/21 Page 3 of 4


1    Dated: October 12, 2021                      CRAVATH, SWAINE & MOORE LLP
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9                                                      Gary A. Bornstein
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11                                                Epic Games, Inc.

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14                                                     Daniel G. Swanson
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16                                                     Cynthia E. Richman

17                                                By: /s/ Mark A. Perry
                                                       Mark A. Perry
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                                                  Attorneys for Defendant and
19                                                Counterclaimant Apple Inc.
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              STIPULATION AND [PROPOSED] ORDER REGARDING HEARING DATE FOR APPLE’S
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         Case 4:20-cv-05640-YGR Document 827 Filed 11/02/21 Page 4 of 4


1    PURSUANT TO STIPULATION AND GOOD CAUSE APPEARING, IT IS SO ORDERED.
2
             November 2, 2021
     Dated: _________________
3                                            YVONNE GONZALEZ ROGERS
4                                           UNITED STATES DISTRICT JUDGE

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             STIPULATION AND [PROPOSED] ORDER REGARDING HEARING DATE FOR APPLE’S
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